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                    EXHIBIT 20
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



 STATE OF NEW YORK, et al.,

          Plaintiffs,

                v.
                                                           Case No. 1:25-cv-00196-MRD-PAS
 ROBERT F. KENNEDY, JR., in his official capacity as
 SECRETARY OF THE U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

          Defendants.



                         DECLARATION OF LEONARD F. PERUSKI

        I, Leonard F. Peruski, PhD, declare under the penalty of perjury pursuant to 28 U.S.C. §

 1746 that the foregoing is true and correct:

        1.      I am the Director of the Wadsworth Center of the New York State Department of

 Health (“Wadsworth Center” or “Wadsworth”). I am familiar with the information in the

 statements set forth below either through personal knowledge, in consultation with the New York

 State Department of Health staff, or from documents that have been provided to and reviewed by

 me.

        2.      I submit this Declaration in support of the States’ Motion for a Preliminary

 Injunction.

 Professional Background

        3.      I am the Director of the Wadsworth Center. My career in public health has

 spanned the past thirty years. Before joining Wadsworth in May 2023, I led international

 laboratory operations for the Centers for Disease Control and Prevention (CDC), an operating

 division of the U.S. Department of Health and Human Services (HHS).
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         4.       During my time at the CDC, I served as the agency lead in Nigeria during the

 Ebola outbreak in West Africa and was deployed extensively during outbreaks in southeast Asia

 for anthrax, botulism and influenza, and across Latin American for Zika and Chikungunya

 viruses. I previously spent seventeen years stationed overseas developing sustainable laboratory

 capacity and guiding laboratory-centric public health research in more than seventy countries. I

 also worked to support several significant domestic public health responses, including as

 commander of the U.S. military team deployed to New York City in the aftermath of the 2001

 anthrax attack, and leading the military team that provided biodefense testing at the 2002 Winter

 Olympics in Salt Lake City.

         5.       I have authored or co-authored over 70 publications in peer-reviewed scientific

 journals on the pathology of specific infectious diseases, as well as laboratory management.

         6.       The Wadsworth Center is a science-based community committed to protecting

 and improving the health of New Yorkers through laboratory analyses, investigations and

 research, as well as laboratory certification and educational programs. Wadsworth Center

 scientists:

               a. Study ongoing public health issues, from drug resistance to emerging infections

                  and environmental exposures;

               b. Investigate basic biological processes that contribute to human health and disease;

                  and

               c. Employ modern methods, such as next generation sequencing technologies, and

                  other state-of-the-art technologies, for clinical testing and public health research.

         7.       The Wadsworth Center is also New York State’s public health reference

 laboratory. As such, Wadsworth Center:
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               a. Responds to urgent public health threats as they arise, from bioterrorism and

                  chemical threats to SARS to synthetic cannabinoids to Legionella outbreaks;

               b. Develops advanced methods to detect microbial agents and genetic disorders; and

               c. Develops new methods and uses advanced accredited methods to monitor toxic

                  environmental contaminants in drinking water, food, and human samples.

         8.       In addition, the Wadsworth Center:

               a. Operates the most comprehensive laboratory licensure and oversight programs for

                  clinical and environmental laboratories, and blood and tissue banks;

               b. Trains the next generation of scientists through programs for doctoral, master’s,

                  and undergraduate students, as well as specialized training for postdoctoral

                  fellows and others;

               c. Maintains Clinical Laboratory Permits for three clinical laboratories: the David

                  Axelrod Institute; the Biggs Laboratory; and the Griffin Laboratory; and

               d. Maintains accreditation as an environmental testing laboratory at the Biggs

                  Laboratory and David Axelrod Institute.

         9.       Moreover, the Wadsworth Center maintains and operates a Biosafety Level (BSL)

 3 Laboratory.

         10.      The Wadsworth Center conducts its work out of five facilities, including the main

 laboratory at the Empire State Plaza, Albany, New York 12237.

         11.      The Wadsworth Center employs approximately 800 staff, fellows, interns,

 students and volunteers. In addition, on average, Wadsworth Center trains 50 students and

 visiting scientists per year.
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        12.     I am providing this declaration to explain the impacts on New York State

 resulting from the CDC’s reduction in capacity to test for infectious diseases, and conduct other

 important functions, since April 1, 2025.

 Reliance on CDC Laboratory Testing Prior to April 1, 2025

        13.     Prior to April 1, 2025, New York State directed specimens for reference and

 confirmatory testing to the Hepatitis and Sexually Transmitted Infection (STI) laboratories at the

 CDC. The CDC has developed highly sophisticated tools including bioinformatic genetic

 analysis programs used for hepatitis outbreak investigations that are not available in any other

 laboratory.

        14.     For example, the Wadsworth Center would routinely utilize genetic analysis

 programs only available at the CDC electronically to identify suspect hepatitis C cases.

        15.     The Wadsworth Center would routinely send bacterial isolates to the CDC in

 order to perform surveillance for antibacterial resistance to understand the prevalence and spread

 of antibacterial resistance as well as to monitor for emergence of novel resistance markers in

 bacteria.

        16.     The Wadsworth Center would send specimens for enterovirus and Parechovirus to

 the CDC Respiratory Virus laboratory for diagnostic testing. These viruses cause severe

 respiratory disease as well as acute flaccid paralysis, especially in children.

        17.     The Wadsworth Center would send suspect Marburg specimens to the CDC Viral

 Special Pathogens Laboratory for diagnostic testing in order to identify this deadly disease,

 which is not present in the U.S.

        18.     This testing by the CDC was important to the Wadsworth Center because some of

 this testing is not performed routinely at the Wadsworth Center. Having surveillance testing
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 performed at the CDC allowed Wadsworth Center scientists to develop tests for other pathogens

 that may be circulating in New York and infecting a larger number of residents. The CDC also

 has BSL4 laboratories, which are not available in New York State, that allow the CDC to

 perform additional characterization of pathogens such as Marburg virus and other hemorrhagic

 fever viruses.

          19.     In addition, the Wadsworth Center would routinely send reference blood and urine

 samples to the CDC’s National Center for Environmental Health’s Division of Laboratory

 Services to be analyzed for toxic metals; these samples were then shared with almost all state

 public health laboratories to help for calibration and training purposes. This testing by the CDC

 was important to the Wadsworth Center because it provided access to reference methods not

 always readily available to state public health laboratories, and it provided a critical quality

 assurance tool that helped states harmonize their testing for toxic metals in human blood and

 urine.

          20.     This testing by the CDC was important to New York State residents because it

 ensured Wadsworth produced high quality data on New York State residents’ exposure to

 environmental contaminants that could be compared to national exposure data produced by the

 CDC.
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 Changes in CDC Infectious Diseases Laboratory Testing Since April 1, 2025

        21.     Since April 1, 2025, the Wadsworth Center has been forced to respond to

 significant changes to the CDC’s laboratory capacity resulting in a significant reduction in the

 availability of infectious disease and environmental testing.

        22.     The CDC has historically served as the leading national resource for testing rare

 or complex cases of infections, in particular Hepatitis and STIs. But, on April 1, 2025,

 Wadsworth Center became aware that HHS’s reductions in force had impacted the CDC’s

 infectious diseases laboratory testing programs.

        23.     Wadsworth Center first learned that the CDC would be eliminating much, if not

 all, of its reference and confirmatory testing for STIs. And, on April 2, 2025, Wadsworth began

 receiving outreach from other jurisdictions outside of New York State asking if the Wadsworth

 Center could perform testing for Hepatitis viruses, because the Hepatitis testing capacity within

 the CDC had been compromised. Wadsworth Center later learned that the entirety of the CDC’s

 Hepatitis laboratory capacity had been eliminated due to the layoffs within the CDC’s Division

 of Viral Hepatitis (DVH).

        24.     The elimination of the CDC’s Hepatitis laboratories is especially concerning

 because DVH has developed and maintained a proprietary Global Hepatitis Outbreak and

 Surveillance Technology (GHOST) system to characterize viral genotypes and transmission

 links among cases with hepatitis C virus (HCV) infection in outbreak settings. The Wadsworth

 Center does not have access to the GHOST system and cannot replace the CDC’s unique

 capability to track HCV infections in real time without committing significant, additional

 resources.
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           25.   It is difficult to create a comprehensive list of the tests no longer performed by the

 CDC that Wadsworth Center has previously relied upon. Continuous changes have and continue

 to be made, and they have not been announced publicly or directly to Wadsworth in advance;

 rather, changes have been published on the CDC website with little or no advanced notice.

           26.   Wadsworth Center has had no direct, formal communication with the CDC

 regarding changes. At times, Wadsworth has been contacted by a specific laboratory at the CDC

 indicating that a test is being discontinued and asking if Wadsworth can do this testing. Other

 times, Wadsworth receives communication from the Association of Public Health Laboratories

 (APHL) asking if Wadsworth can do testing that the CDC has discontinued.

           27.   In addition to changes related to testing, Wadsworth has learned that the CDC has

 suspended support and investigation services to jurisdictions responding to lead contamination

 crises.

           28.   Wadsworth Center has also become aware that the Moffett Laboratory, an ISO-

 accredited facility within the FDA that is responsible for developing and certifying high quality

 food reference materials used to assess the proficiency of state laboratories, has been closed.

 Effect on Institutional Operations

           29.   The Wadsworth Center has been significantly affected by the changes to the CDC

 infectious disease and environmental testing described above.

           30.   The changes to the CDC infectious diseases testing described above have forced

 the Wadsworth Center to divert resources to testing for pathogens including arboviruses, Mpox

 virus, mycobacteria, Neisseria gonorrhoeae, as well as Enteroviruses and Parechoviruses

 (including enterovirus-D68 (EV-D68)); testing for these pathogens was formerly performed by

 the CDC’s infectious diseases laboratories. This has required Wadsworth to hire or train
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 additional staff for its core infectious disease programs in bacteriology, parasitology, virology,

 and mycology in order to maintain continuity of operations for the state.

        31.     In addition, the changes to the CDC infectious diseases laboratory testing have

 strained the Wadsworth Center’s resources because it has received, and continues to receive,

 samples from other jurisdictions that cannot be tested anywhere in the U.S. other than the

 Wadsworth Center after CDC laboratory closures. The Wadsworth Center is the only laboratory

 other than the CDC capable of testing for certain pathogens. For example, only two laboratories

 in the U.S. can conduct reference testing for Chagas Disease: a CDC laboratory that is now

 closed, and the Wadsworth Center. The CDC has also ceased testing for critical exotic viral

 pathogens, including Mayaro virus, Heartland virus, bourbon virus, and dengue virus. The same

 is true for Leishmaniasis, a disease that can be fatal without early detection. Even for more

 common diseases, like gonorrhea, Mpox, or hepatitis, Wadsworth Center has had no choice but

 to fill in for gaps created by the closures of various CDC laboratories, including the Viral

 Hepatitis laboratory. In the last month alone, the Wadsworth Center performed tests for dengue,

 Mayaro, heartland, bourbon, and chikungunya viruses from patient samples from six different

 states due to the loss of testing from the CDC.

        32.     This increased demand for testing is harmful because the Wadsworth Center is

 intended to be a resource for New York State, not for the country as a whole. Our pricing models,

 liability insurance, and staffing were built to serve the needs of our State alone. Indeed,

 Wadsworth is not equipped to conduct many of the functions formerly undertaken by the CDC,

 including national surveillance of infectious diseases. The CDC’s former status as the most elite

 and capable infectious disease laboratory system was built with federal funding and other federal

 resources that are simply unavailable to the Wadsworth Center, and cannot be replicated.
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         33.     These changes risk significant harm to public health in New York State because,

  without adequate testing for infectious diseases throughout the country, our residents are at risk

  of being affected by dangerous outbreaks and chemical exposures that would otherwise be

  detected and controlled through our national public health systems, which have been developed

  and managed by the CDC.

         34.     Finally, the Wadsworth Center operates a program to regulate medical devices

  developed and used by clinical laboratories. These are referred to as laboratory developed tests

  (LDTs) and the Wadsworth Center routinely relies on the U.S. Food and Drug Administration to

  discuss oversight of LDTs when new and emerging technologies are being used. The April 1,

  2025, reduction in force has significantly impacted the Wadsworth Center’s interactions with the

  FDA.

  Conclusion

         35.     The changes to the CDC’s infectious diseases laboratory testing described above

  harm the Wadsworth Center because it has been forced to take on testing responsibilities that

  were previously handled by the CDC and, in some cases, forgo the vital testing of samples taken

  from New Yorkers if Wadsworth Center does not have the capacity to do such testing on its own.

  In addition, as one of the only laboratories capable of testing certain samples other than the CDC

  before April 1, 2025, the Wadsworth Center has been forced to respond to urgent requests for

  testing from other jurisdictions, straining its already-limited resources allocated for the benefit of

  New Yorkers.
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         36.     These new demands are already straining the institution’s limited resources and

  contributing to an increased risk of public health harms in New York State, both from the loss of

  the CDC resources and services and the interruption of the Wadsworth Center’s ability to

  conduct its day-to-day functions.


                                       ___________________________________
                                       Leonard F. Peruski, PhD

  Date: May 7, 2025
